                                      United States Bankruptcy Court
                                           District of Arizona
In re:                                                                                  Case No. 18-07157-DPC
Mark J Swartz                                                                           Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0970-2           User: taylore                Page 1 of 2                   Date Rcvd: Mar 28, 2019
                               Form ID: 318                 Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 30, 2019.
db             +Mark J Swartz,    3186 E. Stella Lane,    Phoenix, AZ 85016-2344
15319687       +ARIZONA DEPARTMENT OF REVENUE,    2005 N CENTRAL AVE, SUITE 100,     PHOENIX, AZ 85004-1546
15093706       +Citibank/Goodyear,    Citicorp Cr Srvs/Centralized Bankruptcy,     Po Box 790040,
                 S Louis MO 63179-0040
15093708       +David Swartz,    10250 E. Mountain View Rd., #141,     Scottsdale AZ 85258-5304
15093707       +David Swartz,    10250 E. Mountain View Rd., No. 141,    Scottsdale AZ 85258-5304
15093710       +Douglas Family Dentistry,    10630 N. Scottsdale Rd.,    Scottsdale AZ 85254-5240
15093711       +Gcsmt2col,    1040 S. Rangeline Rd.,   Carmel IN 46032-2544
15093712       +General Credit Services,    PO Box 47578,    Phoenix AZ 85068-7578
15093715       +JP Morgan Chase Bank,    555 St. Charles Drive Suite 100,    Thousand Oaks CA 91360-3983
15093714       +Jeffrey Messing, Esq.,    Ball, Santin & McLeran, PLC,    2999 N. 44th St., Suite 500,
                 Phoenix AZ 85018-7252
15093716       +Law Office of Jeffrey G. Pollitt, P.C.,     2425 East Camelback Rd., Ste. 1075,
                 Phoenix AZ 85016-4260
15093717       +Michael J. Fuller, Esq.,    3030 North 3rd St., Ste. 200,    Phoenix AZ 85012-3044
15093719       #Nationwide Credit, Inc.,    PO Box 26314,    Lehigh Valley PA 18002-6314
15093720       +Owens & Perkins P.C.,    7322 E. Thomas Rd.,    Scottsdale AZ 85251-7295
15280619        Owens & Perkins, P.C.,    C/O Michael J. Fuller,    3030 North Third Street, Suite 200,
                 Phoenix, AZ 85012-3044

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: BRAMACKENZIE.COM Mar 29 2019 04:48:00      ROBERT A. MACKENZIE,
                 2001 E. CAMPBELL AVE., SUITE 200,    PHOENIX, AZ 85016-5574
smg             EDI: AZDEPREV.COM Mar 29 2019 04:48:00      AZ DEPARTMENT OF REVENUE,     BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
15365634        EDI: BECKLEE.COM Mar 29 2019 04:48:00      AMERICAN EXPRESS NATIONAL BANK,
                 C/O BECKET AND LEE LLP,   PO BOX 3001,    MALVERN PA 19355-0701
15093698       +EDI: AMEREXPR.COM Mar 29 2019 04:48:00      Amex,    Correspondence,    Po Box 981540,
                 El Paso TX 79998-1540
15093699        EDI: AZDEPREV.COM Mar 29 2019 04:48:00      Arizona Dept of Revenue,
                 Special Operations Section,    1600 W MONROE ST RM 720,    PHOENIX AZ 85007-2612
15093700       +EDI: BANKAMER.COM Mar 29 2019 04:48:00      Bank Of America,    Nc4-105-03-14,    Po Box 26012,
                 Greensboro NC 27420-6012
15093701       +E-mail/Text: bankruptcy@cavps.com Mar 29 2019 01:08:49       Calvary Portfolio Services,
                 500 Summit Lake Ste 400,    Valhalla NY 10595-2322
15093702       +EDI: CAPITALONE.COM Mar 29 2019 04:48:00      Capital One,
                 Attn: General Correspondence/Bankruptcy,    Po Box 30285,    Salt Lake City UT 84130-0285
15093703       +EDI: MERRICKBANK.COM Mar 29 2019 04:48:00      Cardworks/CW Nexus,     Attn: Bankruptcy,
                 Po Box 9201,   Old Bethpage NY 11804-9001
15093704       +E-mail/Text: bankruptcy@cavps.com Mar 29 2019 01:08:49       Cavalry SPV I, LLC,
                 c/o Cavalry Portfolio Services, LLC,    PO Box 520,    Valhalla NY 10595-0520
15260870       +E-mail/Text: bankruptcy@cavps.com Mar 29 2019 01:08:49       Cavalry SPV I, LLC,
                 500 Summit Lake Drive, Ste 400,    Valhalla, NY 10595-2321
15093705       +EDI: CHASE.COM Mar 29 2019 04:48:00      Chase Card,    Attn: Correspondence Dept,     Po Box 15298,
                 Wilmington DE 19850-5298
15093713        EDI: IRS.COM Mar 29 2019 04:48:00      Internal Revenue Service,
                 Centralized Insolvency Operations,    PO BOX 7346,    Philadelphia PA 19101-7346
15376672       +EDI: CHASE.COM Mar 29 2019 04:48:00      JPMorgan Chase Bank NA,     c/o Mark A. Jarman,
                 Post Office Box 29550,   Mail Code AZ1-1004,     Phoenix, Arizona 85038-9550
15313140        EDI: MERRICKBANK.COM Mar 29 2019 04:48:00      MERRICK BANK,    Resurgent Capital Services,
                 PO Box 10368,   Greenville, SC 29603-0368
15093718       +EDI: MID8.COM Mar 29 2019 04:48:00      Midland Funding,    Attn: Bankruptcy,    Po Box 939069,
                 San Diego CA 92193-9069
15385835       +EDI: MID8.COM Mar 29 2019 04:48:00      Midland Funding LLC,    P.O. Box 2011,
                 Warren, MI 48090-2011
15094312       +EDI: PRA.COM Mar 29 2019 04:48:00      PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
15093721       +E-mail/Text: bk@rgsfinancial.com Mar 29 2019 01:07:30       Rgs Financial,
                 1700 Jay Ell Dr Ste 200 Ste,     Richardson TX 75081-6788
                                                                                               TOTAL: 19

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty*            +ROBERT A. MACKENZIE,   2001 E. CAMPBELL AVE., SUITE 200,   PHOENIX, AZ 85016-5574
cr*             +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
15093709*       +David Swartz,   10250 E. Mountain View Rd. #141,   Scottsdale AZ 85258-5304
                                                                                             TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
District/off: 0970-2                  User: taylore                      Page 2 of 2                          Date Rcvd: Mar 28, 2019
                                      Form ID: 318                       Total Noticed: 34


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 30, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 28, 2019 at the address(es) listed below:
              KYLE A. KINNEY    on behalf of Debtor Mark J Swartz kyle@kinneylaw.net, paulahillock@kinneylaw.net
              ROBERT A. MACKENZIE    on behalf of Trustee ROBERT A. MACKENZIE ram@ramlawltd.com,
               az26@ecfcbis.com
              ROBERT A. MACKENZIE    ram@ramlawltd.com, az26@ecfcbis.com
              TERRY A. DAKE   on behalf of Trustee ROBERT A. MACKENZIE tdake@cox.net
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                             TOTAL: 5
Information to identify the case:
Debtor 1              Mark J Swartz                                               Social Security number or ITIN   xxx−xx−0736
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Arizona

Case number: 2:18−bk−07157−DPC



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Mark J Swartz

                                                                          By the court: Daniel P. Collins
           3/28/19                                                                      United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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